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                                                     July 1, 2024

   Via Electronic Filing Manager
   Judge Wesley L. Hsu
   First Street Courthouse
   350 W. 1st Street, Courtroom 9B, 9th Floor
   Los Angeles, California 90012

           Re: Confirmation of Jurisdictional Defendants’ Compliance with the Court’s Order

   Dear Honorable Judge Hsu,

           Pursuant to this Honorable Court’s June 28, 2024 Order (the “Order”), this letter serves
   to inform the Court of the Original Jurisdictional Defendants’ compliance with said Order.

       1. Confirmation the Tax Returns Produced to Plaintiffs are true and correct copies of tax
          returns filed with the Internal Revenue Service

            On July 1, 2024, Original Jurisdictional Defendants served on Plaintiffs’ counsel
   verifications confirming the copies of tax returns produced to Plaintiffs in the instant lawsuit are
   indeed true and correct copies of tax returns filed with the Internal Revenue Service.

            These written verifications served on behalf of Max O. Day, Michael Day, Max K. Day, Ryan
   Carroll, Yax Ecommerce LLC, WA Distribution LLC, and Precision Trading Group LLC, together with
   the supplement production discussed below, satisfy the Original Jurisdictional Defendants’ first
   obligation under Paragraph 1 of the Order.

       2. Versions of Documents Already Produced with the Last Four Digits of Employer
          Identification Numbers and Social Security Numbers Unredacted

            On June 29, 2024, the day following entry of the Order, the Original Jurisdictional
   Defendants immediately produced documents labeled JD0001- JD0324 to Plaintiffs’ counsel via
   email and secure file share link. Documents JD0001- JD0324 consist of Original Jurisdictional
   Defendant tax returns and contain the last four digits of Employer Identification Numbers and
   Social Security Numbers unredacted. This June 29, 2024, production satisfies the Original
   Jurisdictional Defendants’ second obligation under Paragraph 1 of the Order.

           It is Original Jurisdictional Defendants’ belief that the Order has been fully complied
   with.




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                                                             Sincerely,

                                                             Lloyd & Mousilli
                                                             Attorneys at Law



                                                             ________________________
                                                             William Shibley




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